   Case 12-34895-RG             Doc 71    Filed 12/19/17 Entered 12/19/17 08:47:05                 Desc Main
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UNITED STATES BANKRUPTY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg MAG-1284
Marie-Ann Greenberg, Standing Trustee
30 TWO BRIDGES ROAD
SUITE 330
FAIRFIELD, NJ 07004-1550
973-227-2840
Chapter 13 Standing Trustee


IN RE:

PATRICIO R. RODRIGUEZ,                                          Case No.: 12-34895 RG


                                     Debtor

                                NOTICE DEPOSITING UNCLAIMED FUNDS
                                    PURSUANT TO D.N.J. LBR 7067-1

    Marie-Ann Greenberg, Trustee in the above captioned matter, states that the entire amount in the Trustee's
Account has been disbursed and that the following funds remain unclaimed. The undersigned shall immediately
forward a check to the Court in the amount of $3,649.01, payable to the Clerk, United States Bankruptcy Court.
The party entitled to said funds is listed below together with the last known address and other additional
information.

Payee Name & Address:       FIA CARD SERVICES
                            PO BOX 3001
                            BECKET & LEE LLP
                            MALVERN, PA 19355-0701
Amount:                     $3,649.01

Trustee Claim Number:       8

Court Claim Number:         5

Reason:                      Checks have been returned as undeliverable


                                                          By:    /S/ Marie-Ann Greenberg
Dated: December 18, 2017                                         MARIE-ANN GREENBERG
                                                                 CHAPTER 13 STANDING TRUSTEE
